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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                          )
    In re:                                                )     Chapter 11
                                                          )
    WARDMAN HOTEL OWNER, L.L.C., 1                        )     Case No. 21-10023 (JTD)
                                                          )
                             Debtor.                      )
                                                          )


                                       CERTIFICATE OF SERVICE

                  I, Timothy P. Cairns, hereby certify that on the 27th day of December, 2021, I

caused a copy of the following document(s) to be served on the individual(s) on the attached

service list(s) in the manner indicated:


                  Notice of Filing of Fee Application; and

                  Final Application of Pryor Cashman LLP for Compensation and
                  Reimbursement of Expenses as Special Litigation Counsel to the Debtor for
                  the Period From January 11, 2021 Through and Including October 28, 2021.

                                                      /s/ Timothy P. Cairns
                                                      Timothy P. Cairns (DE Bar No. 4228)




1       The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is
5035 Riverview Road, NW, Atlanta, GA 30327.


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Wardman Hotel Owners 2002 SL
First Class Mail and Email                          FIRST CLASS MAIL
Case No. 21-10023 (JTD)                             (Top 20 Creditor)
Doc No. 232499v1                                    Marriott Hotel Service, Inc.
09—First Class Mail                                 Attn: Legal Department
44—Electronic Mail                                  10400 Fernwood Road
                                                    Bethesda, MD 20817

(Counsel for Debtor)                                FIRST CLASS MAIL
Laura Davis Jones, Esq.                             (Top 20 Creditor)
David Bertenthal, Esq.                              Wardman Tower, L.L.C.
Max B. Litvak, Esq.                                 c/o JBG Companies
Timothy P. Cairns, Esq.                             4745 Bethesda Avenue
Pachulski Stang Ziehl & Jones LLP                   Suite 200
919 N. Market Street, 17th Floor                    Bethesda, MD 20815
PO Box 8705
Wilmington, DE 19899-8705 (Courier 19801)           FIRST CLASS MAIL
Email: ljones@pszjlaw.com;                          Office of Tax and Revenue
mlitvak@pszjlaw.com;                                1101 4th Street, SW
dbertenthal@pszjlaw.com;                            Suite 270 West
tcairns@pszjlaw.com                                 Washington, D.C. 20024

FIRST CLASS MAIL                                    FIRST CLASS MAIL
Internal Revenue Service                            Unite Here Int’l Union
Centralized Insolvency Operation                    Local 25
PO Box 7346                                         901 K St. N.W.
Philadelphia, PA 19101-7346                         2nd Floor
                                                    Washington, D.C. 20001
FIRST CLASS MAIL
Office of the United States Attorney                FIRST CLASS MAIL
District of Delaware                                Pacific Life Insurance Company
Attn: David C. Weiss, Esq.                          700 Newport Center Drive
Hercules Building                                   Newport Beach, CA 92660
1313 N. Market Street, Suite 400
Wilmington, DE 19801                                FIRST CLASS MAIL
                                                    Congressional Hotel Dry Cleaning LLC
FIRST CLASS MAIL                                    P.O. Box 721
Secretary of State                                  Great Falls, VA 22066
John G. Townsend Building
401 Federal Street, Suite 4
Dover, DE 19901




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ELECTRONIC MAIL                                     ELECTRONIC MAIL
US Trustee for District of DE                       (Counsel for Manager)
Office of the United States Trustee                 Larry G. Halperin, Esq.
Linda Casey, Trial Attorney                         Chapman and Cutler LLP
J. Caleb Boggs Federal Building                     1270 Avenue of the Americas
844 King Street                                     New York, NY 10020
Suite 2207, Lockbox 35                              Email: halperin@chapman.com
Wilmington DE 19899-0035
Email: linda.casey@usdoj.gov                        ELECTRONIC MAIL
                                                    (Special Counsel for Debtor)
ELECTRONIC MAIL                                     Todd E. Soloway, Esq.
Delaware Secretary of State                         Bryan T. Mohler, Esq.
Division of Corporations                            Itai Y. Raz, Esq.
Franchise Tax                                       Pryor Cashman LLP
PO Box 898                                          7 Times Square
Dover, DE 19903                                     New York, NY 10036-6569
Email: Dosdoc_Ftax@delaware.gov                     Email: tsoloway@pryorcashman.com;
                                                    bmohler@pryorcashman.com;
ELECTRONIC MAIL                                     iraz@pryorcashman.com
Delaware State Treasury
820 Silver Lake Blvd., Suite 100                    ELECTRONIC MAIL
Dover, DE 19904                                     (Counsel for Pacific Life)
Email: Statetreasurer@state.de.us                   Grant Stein, Esq.
                                                    David Wender, Esq.
ELECTRONIC MAIL                                     Brian D. Frey, Esq.
Securities and Exchange Commission                  Alston & Bird LLP
Sec Headquarterswar                                 1201 West Peachtree Street
100 F Street, NE                                    One Atlantic Center
Washington, DC 20549                                Atlanta, Georgia 30309-3424
Email secbankruptcy-ogc-ado@sec.gov;                Email:david.wender@alston.com;
secbankruptcy@sec.gov                               grant.stein@alston.com;
                                                    brian.frey@alston.com
ELECTRONIC MAIL
Securities and Exchange Commission                  ELECTRONIC MAIL
New York Regional Office                            (Counsel for Pacific Life)
Attn: Mark Berger, Regional Director                Dominic E. Pacitti, Esq.
200 Vesey St, Ste 400                               Klehr Harrison Harvey Branzburg LLP
New York, NY 10281-1022                             919 N. Market Street
Email: Bankruptcynoticeschr@sec.gov;                Suite 1000
Nyrobankruptcy@sec.gov                              Wilmington, DE 19801-3062
                                                    Email:dpacitti@klehr.com




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ELECTRONIC MAIL                                       ELECTRONIC DELIVERY
(Counsel for Marriott Hotel Services, Inc.)           (Counsel for Marriott Hotel Services, Inc.)
Lindsay Harrison, Esq.                                Jennifer L. Nassiri, Esq.
Kali Bracey, Esq.                                     Sheppard, Mullin, Richter & Hampton LLP
Jessica Ring Amunson, Esq.                            333 South Hope Street, 43rd Floor
Alex S. Trepp, Esq.                                   Los Angeles, CA
Jenner & Block LLP                                    Email: jnassiri@sheppardmullin.com
1099 New York Ave. NW
Suite 900                                             ELECTRONIC DELIVERY
Washington, D.C. 20001                                (Counsel for Marriott Hotel Services, Inc.)
Email:lharrison@jenner.com;                           Paul Rietema, Esq.
kbracey@jenner.com;                                   Jenner & Block LLP
jamunson@jenner.com;                                  353 N. Clark Street
atrepp@jenner.com                                     Chicago, IL 60654-3456
                                                      Email: prietema@jenner.com
ELECTRONIC MAIL
(Counsel for Marriott Hotel Services, Inc.)           ELECTRONIC MAIL
Curtis S. Miller, Esq.                                (Counsel for Pacific Life Insurance Company
Morris, Nichols, Arsht, & Tunnell LLP                 and PL Wardman Member, LLC)
1201 North Market Street, 16th Floor                  Domenic E. Pacitti, Esquire
P.O. Box 1347                                         KLEHR, HARRISON, HARVEY,
Wilmington, DE 19899-1347                             BRAZBURG LLP
Email: cmiller@mnat.com                               919 Market Street. Suite 1000
                                                      Wilmington, DE 19801-3062
ELECTRONIC DELIVERY                                   Email: dpacitti@klehr.com
(Counsel for Marriott Hotel Services, Inc.)
Ori Katz, Esq.                                        ELECTRONIC MAIL
Sheppard, Mullin, Richter & Hampton LLP               (Counsel for Pacific Life Insurance Company
Four Embarcadero Center, 17th Floor                   and PL Wardman Member, LLC)
San Francisco, CA 94111-4109                          Grant Stein, Esquire
Email: okatz@sheppardmullin.com                       David Wender, Esquire
                                                      ALSTON & BIRD LLP
ELECTRONIC DELIVERY                                   1201 West Peachtree Street
(Counsel for Marriott Hotel Services, Inc.)           Atlanta, GA 30309
Michael T. Driscoll, Esq.                             Email: Grant.Stein@alston.com
Sheppard, Mullin, Richter & Hampton LLP               Email: David.Wender@alston.com
30 Rockefeller Plaza
New York, NY 10112                                    ELECTRONIC MAIL
Email: mdriscoll@sheppardmullin.com                   (Counsel for Pacific Life Insurance Company
                                                      and PL Wardman Member, LLC)
                                                      Geoffrey C. Williams, Esquire
                                                      ALSTON & BIRD LLP
                                                      90 Park Avenue, 15th Floor
                                                      New York, NY 10016-1387
                                                      Email: Geoffrey.williams@alston.com




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ELECTRONIC MAIL                                         ELECTRONIC MAIL
(Counsel for National Association of Counties)          (Counsel to the District of Columbia Water and
L. Katie Mason, Esq.                                    Sewer Authority)
Quarles & Brady LLP                                     Elihu E. Allinson, III, Esq.
411 E. Wisconsin Avenue, Suite 2400                     Sullivan Hazeltine Allinson LLC
                                                        919 N. Market Street, Suite 420
Milwaukee, WI 53202
                                                        Wilmington, DE 19801
Email: Katie.Mason@quarles.com                          Email: zallinson@sha-llc.com
ELECTRONIC MAIL                                         ELECTRONIC MAIL
(Counsel to American Roetgen Ray Society)               (Counsel to the District of Columbia Water and
Stephen J. Astringer                                    Sewer Authority)
POLSINELLI PC                                           Emil Hirsch, Esq.
222 Delaware Ave., Suite 1101                           Carlton Fields, P.A.
Wilmington, DE 19801                                    1025 Thomas Jefferson Street, NW
Email: sastringer@polsinelli.com                        Suite 400 West
                                                        Washington, DC 200007-5208
ELECTRONIC MAIL                                         Email: ehirsch@carltonfields.com
(Counsel to American Roetgen Ray Society)
Mark B. Joachim                                         ELECTRONIC MAIL
POLSINELLI PC                                           (Counsel for UNITE HERE Local 25)
1401 Eye ("I") Street, N.W., Suite 800
                                                        Susan E. Kaufman, Esq.
Washington, DC 20005
                                                        LAW OFFICE OF SUSAN E. KAUFMAN,
Email: mjoachim@polsinelli.com
                                                        LLC
ELECTRONIC MAIL                                         919 N. Market Street, Suite 460
(Counsel to Oracle America, Inc.)                       Wilmington, DE 19801
Shawn M. Christianson, Esq.                             Email: skaufman@kaufmanlaw.com
Buchalter, a Professional Corporation
55 Second Street, 17th Floor                            ELECTRONIC MAIL
San Francisco, CA 94105-3493                            (Counsel for UNITE HERE Local 25)
Email: schristianson@buchalter.com                      Devki K. Virk, Esq.
                                                        BREDHOFF & KAISER, P.L.L.C.
ELECTRONIC MAIL                                         805 Fifteenth Street, N.W., Suite 1000
(Counsel to Oracle America, Inc.)                       Washington, D.C. 20005
Amish R. Doshi, Esq.                                    Email: dvirk@bredhoff.com
Doshi Legal Group, P.C.
1979 Marcus Avenue, Suite 210E                          ELECTRONIC MAIL
Lake Success, NY 11042                                  (Counsel to American Historical Association)
Email: amish@doshilegal.com                             Aaron R. Cahn, Esq.
                                                        Carter Ledyard & Milburn LLP
ELECTRONIC MAIL                                         2 Wall Street
(Counsel to Enseo)                                      New York, NY 10005-2072
L. Katherine Good, Esq.                                 Email: bankruptcy@clm.com
Aaron H. Stulman, Esq.
Potter Andeerson & Corroon LLP
1313 No. Market Street, 6th Floor
Wilmingon, DE 19801
Email: kgood@potteranderson.com
astulman@potteranderson.com




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